 Case 1:17-cv-01113-JTN-ESC ECF No. 34 filed 06/13/18 PageID.190 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 HANNA HACKBARDT,

         Plaintiff,
                                                                      Case No. 1:17-cv-1113
 v.
                                                                      HON. JANET T. NEFF
 MIDLAND FUNDING, LLC and
 MIDLAND CREDIT MANAGEMENT, INC.,

         Defendants.
 ____________________________/


                                              ORDER

       This Court having been informed through the filing of the Joint Notice of Settlement (ECF

No. 33) of Plaintiff and Defendant Midland Funding, LLC’s agreement to settle this matter:

       IT IS HEREBY ORDERED that appropriate dismissal papers, prepared by counsel for

entry by Janet T. Neff, United States District Judge, shall be filed with the Court no later than June

29, 2018.

       IT IS FURTHER ORDERED that the June 15, 2018 early settlement conference before

Magistrate Judge Ellen S. Carmody is CANCELLED.



Dated: June 13, 2018                                           /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge
